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                     UNITED STATES DISTRICT COURT
                   FOR THE MIDDLE DISTRICT OF FLORIDA
                         JACKSONVILLE DIVISION

   CHARLES S. WEEMS, IV, an
   individual, KERRI WEEMS, an
   individual, and CELEBRATION                 Case: 3:23-cv-00811-MMH-LLL
   GLOBAL, INC., a Florida not for
   profit corporation, HONEY LAKE
   FARMS, INC., a Florida not for profit
   corporation, NORTHSTREAM
   MANAGEMENT GROUP, LLC, a
   Florida limited liability company, and
   WEEMS GROUP, LLC, a Florida
   limited liability company,

         Plaintiffs,
   v.

   ASSOCIATION OF RELATED
   CHURCHES, a Texas not-for-profit
   corporation, CHRIS HODGES,
   individually, DINO RIZZO,
   individually, and JOHN SEIBELING,
   individually,

         Defendants.
                                      /

                   UNIFORM CASE MANAGEMENT REPORT

        The goal of this case management report is to “secure the just, speedy, and
 inexpensive determination of” the action. See Fed. R. Civ. P. 1. Under Local Rule
 3.02(a)(2), this case management report should be used in all civil cases except those
 described in Local Rule 3.02(d). Individual judges may have additional case
 management preferences that can be found under each judge’s name on the Court’s
 website, flmd.uscourts.gov/judges/all.

 1. Date and Attendees

    The parties may conduct the planning conference “in person, by telephone, or by
    comparable means[.]” See Local Rule 3.02(a)(1).
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    The parties conducted the planning conference on 9/5/2023 Shane Vogt, Esq.
    (counsel for Plaintiffs), Edward McCarthy, III, Esq. and Samuel Horovitz, Esq.
    (counsel for Defendant Siebeling), Michael Lockamy, Esq. (counsel for Defendant
    Rizzo), Bryan Balogh, Esq. (counsel for Defendant Hodges), and Sarah Hulsberg,
    Esq. (counsel for Defendant Association of Related Churches) attended the
    conference.

 2. Deadlines and Dates

    The parties request these deadlines and dates:

     Action or Event                                                              Date

     Deadline for providing mandatory initial disclosures. See Fed. R. Civ.
                                                                                  10/2/2023
     P. 26(a)(1).

     Deadline for moving to join a party, see Fed. R. Civ. P. 14, 19, and 20,
                                                                                  1/15/2024
     or amend the pleadings, see Fed. R. Civ. P. 15(a).

     Deadline for serving expert disclosures under Rule 26(a)(2),
     including any report required by Rule 26(a)(2)(B).               Plaintiff    6/3/2024
                                                                    Defendant      8/1/2024
                                                                      Rebuttal     9/2/2024
     Deadline for completing discovery and filing any motion to compel
                                                                                  10/1/2024
     discovery. See Fed. R. Civ. P. 37; Middle District Discovery (2021).

     Deadline for moving for class certification, if applicable. See Fed. R.         N/A
     Civ. P. 23(c).

     Deadline for filing any dispositive and Daubert motion. See Fed. R. Civ.
                                                                                  11/1/2024
     P. 56. (Must be at least five months before requested trial date.)

     Deadline for participating in mediation. See Local Rules, ch. 4.
     Terry White, Esq.
     Upchurch Watson White and Max
                                                                                  12/31/2024
     1400 Hand Avenue, Suite D
     Ormond Beach, FL 32174
     800-264-2622

     Date of the final pretrial meeting. See Local Rule 3.06(a).                  2/28/2025




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     Deadline for filing the joint final pretrial statement, any motion in
     limine, proposed jury instructions, and verdict form. See Local Rule           3/10/2025
     3.06(b). (Must be at least seven days before the final pretrial conference.)

     Date of the final pretrial conference. See Fed. R. Civ. P. 16(e); Local
                                                                                    3/17/2025
     Rule 3.06(b).

     Month and year of the trial term.                                              4/1/2025


    The trial will last approximately 8-10 days and be

    ☒ jury.
    ☐ non-jury.

 3. Description of the Action

    PLAINTIFFS, A CHURCH PASTOR, HIS WIFE, AND SEVERAL OF THEIR COMPANIES,
    CLAIM THAT DEFENDANTS TORTIOUSLY INTERFERED WITH AND CONSPIRED TO
    TORTIOUSLY INTERFERE WITH PLAINTIFFS’ ADVANTAGEOUS CONTRACTUAL AND
    BUSINESS RELATIONSHIPS. DEFENDANTS DENY THAT THEY INTERFERED IN ANY
    OF PLAINTIFFS’ RELATIONSHIPS OR CONSPIRED TO DO SO.

 4. Disclosure Statement

    ☒ The parties have filed their disclosure statement as required by Federal Rule of
    Civil Procedure 7.1 and Local Rule 3.03.

 5. Related Action

    ☒ The parties acknowledge their continuing duty under Local Rule 1.07(c) to
    notify the judge of a related action pending in the Middle District or elsewhere by
    filing a “Notice of a Related Action.” No notice need be filed if there are no related
    actions as defined by the rule.

 6. Consent to a Magistrate Judge

    “A United States magistrate judge in the Middle District can exercise the maximum
    authority and perform any duty permitted by the Constitution and other laws of the United
    States.” Local Rule 1.02(a). With the parties’ consent, a district judge can refer any civil
    matter to a magistrate judge for any or all proceedings, including a non-jury or jury trial.
    28 U.S.C. § 636(c).




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    The Court asks the parties and counsel to consider the benefits to the parties and the Court
    of consenting to proceed before a magistrate judge. Consent can provide the parties
    certainty and flexibility in scheduling. Consent is voluntary, and a party for any reason
    can decide not to consent and continue before the district judge without adverse
    consequences. See Fed. R. Civ. P. 73(b)(2).

    ☐ The parties do consent and file with this case management report a completed
    Form AO 85 “Notice, Consent, and Reference of a Civil Action to a Magistrate
    Judge,” which is available on the Court’s website under “Forms.”
    ☒ The parties do not consent.

 7. Preliminary Pretrial Conference

    ☒ The parties do not request a preliminary pretrial conference before the Court
    enters a scheduling order.
    ☐ The parties do request a preliminary pretrial conference, and the parties want to
    discuss enter discussion points.

 8. Discovery Practice

    The parties should read the Middle District Discovery Handbook, available on the Court’s
    website at flmd.uscourts.gov/civil-discovery-handbook, to understand discovery practice
    in this District.

    ☒ The parties confirm they will comply with their duty to confer with the opposing
    party in a good faith effort to resolve any discovery dispute before filing a motion.
    See Local Rule 3.01(g); Middle District Discovery (2021) at § I.A.2.

 9. Discovery Plan

    The parties submit the following discovery plan under Rule 26(f)(2):

    A.   The parties agree to the timing, form, or requirement for disclosures under
         Rule 26(a):

          ☐ Yes.
          ☒ No; instead, the parties agree to these changes: The parties agree to
          extend the time to provide initial Rule 26(a) disclosures to October 1, 2023.




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    B.   Discovery may be needed on these subjects: The facts upon which the
         parties’ claims and defenses are based and all related issues raised in the
         pleadings; the relationships and communications between the Parties and
         those with whom Plaintiffs claim Defendants interfered; and Plaintiffs’
         alleged damages.

    C.   Discovery should be conducted in phases:

          ☒ No.
          ☐ Yes; describe the suggested phases.

    D. Are there issues about disclosure, discovery, or preservation of
       electronically stored information?

          ☒ No.
          ☐ Yes.

    E.   ☒ The parties have considered privilege and work-product issues,
         including whether to ask the Court to include any agreement in an order
         under Federal Rule of Evidence 502(d).

    F.   The parties stipulate to changes to the limitations on discovery imposed
         under the Federal Rules of Civil Procedure and Local Rule 3.04 or other
         limitations:

          ☐ No.
          ☒ Yes; The parties agree to the exchange and service, of all documents,
          pleadings, and discovery via electronic mail or document sharing
          link/system to the addresses listed by the parties in the Court’s CM/ECF
          system.

 10. Request for Special Handling

    ☒ The parties do not request special handling.
    ☐ The parties request special handling. Specifically, describe requested special
    handling.
    ☐ Enter party’s name unilaterally requests special handling. Specifically, describe
    requested special handling.




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 11. Certification of familiarity with the Local Rules

     ☒ The parties certify that they have read and are familiar with the Court’s Local
     Rules.

 12. Signatures

        Respectfully Submitted this 5th day of September, 2023.


  TURKEL CUVA BARRIOS, P.A.

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  /s/Michael E. Lockamy__________          Edward McCarthy, III
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